            Case 1:09-cv-00460-FMA Document 21 Filed 01/28/11 Page 1 of 1




In The United States Court of Federal Claims
                                            No. 09-460C

                                      (Filed: January 28, 2011)
                                        __________

DOUGLAS R. BIGELOW TRUST,
JAMIE MORTENSON, Trustee, et al.,

                       Plaintiff,

        v.

THE UNITED STATES,

                         Defendant.
                                              ________

                                             ORDER
                                            __________


        On January 10, 2011, the parties filed a joint status report requesting that the stay be
lifted. The court hereby restores this case to the active docket. Accordingly:

       1.       On or before February 15, 2011, defendant shall file a response to
                plaintiffs’ amended complaint; and

       2.       On or before February 28, 2011, plaintiffs shall file their reply in
                support of their motion to certify the class.

       IT IS SO ORDERED.



                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
